                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                 OWENSBORO DIVISION

AMANDA WEST,

                 PLAINTIFF

v.                                                      CIVIL ACTION NO. 4:05-CV-183M
TYSON FOODS, INC.,                                     ELECTRONICALLY FILED
                 DEFENDANT.


            MOTION FOR PARTIAL SUMMARY JUDGMENT ON DAMAGES

        The defendant, Tyson Foods, Inc., by counsel, pursuant to Fed. R. Civ. P. 56, moves this

Court for partial summary judgment on the plaintiff’s claim for back pay damages. A

memorandum in support of this motion, and a proposed Order are tendered herewith.



                                              s/ Demetrius O. Holloway
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                                CERTIFICATE OF SERVICE

      On August 13, 2007, I electronically filed the above pleading through the ECF system,
which will send a notice of electronic filing to the following:


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                                           s/ Demetrius O. Holloway
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